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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                     Chapter 11

    COMPUTE NORTH HOLDINGS, INC., et al.,                      Case No. 22-90273 (MI)

                                           Debtors.1          (Jointly Administered)


 BITNILE INC.’S WITNESS AND EXHIBIT LIST FOR NOVEMBER 7, 2022 HEARING

             BitNile Inc. (“BitNile”), a creditor and contract counterparty of the above-captioned

Debtors, files this Witness and Exhibit List for the hearing to be held on November 7, 2022, at

9:00 a.m. (prevailing Central Time) (the “Hearing”).


                                                 WITNESSES

             BitNile may call any of the following witnesses at the Hearing:

             1.     Darren Magot, Senior Vice President of BitNile Inc. / BitNile Holdings, Inc. (via
                    declaration or live testimony);

             2.     Any witness called or listed by any other party in interest; and

             3.     Impeachment witnesses, as necessary.




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, include: Compute North Holdings, Inc. (4534); Compute North LLC (7185); CN Corpus Christi LLC (5551);
CN Atoka LLC (4384); CN Big Spring LLC (4397); CN Colorado Bend LLC (4610); CN Developments LLC (2570);
CN Equipment LLC (6885); CN King Mountain LLC (7190); CN Minden LLC (3722); CN Mining LLC (5223); CN
Pledgor LLC (9871); Compute North Member LLC (8639); Compute North NC08 LLC (8069); Compute North NY09
LLC (5453); Compute North SD, LLC (1501); Compute North Texas LLC (1883); Compute North TX06 LLC (5921);
and Compute North TX10 LLC (4238). The Debtors’ service address for the purposes of these chapter 11 cases is
7575 Corporate Way, Eden Prairie, Minnesota 55344.



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 EXHIBIT                                         EXHIBITS




                                                                               OBJECT
                                                                                        ADMIT
                                                                       OFFER
                                                                                                      DISPOSITION




                                                                MARK




                                                                                                W/D
                           DESCRIPTION                                                                   AFTER
                                                                                                       HEARING

 1.        Master Agreement [to be filed under seal]

 2.        Order Form [to be filed under seal]

 3.        Wire Confirmation dated August 22, 2022
           Logistics Invoice BitNile to Wolf Hollow dated
 4.
           August 29, 2022
           Compute North Invoice No. DP00192 dated
 5.
           August 16, 2022
           Compute North Invoice No. AR-INV02164
 6.
           dated September 30, 2022
           Any document or pleading filed with the Court
 7.
           in the above-captioned cases.
           Any exhibit necessary for impeachment
 8.
           purposes.
           Any exhibit identified or offered by any other
 9.
           party.

                                      RESERVATION OF RIGHTS

            BitNile reserves the right to call or to introduce one or more, or none, of the witnesses and

exhibits listed above, and further reserves the right to supplement or otherwise amend this Witness

and Exhibit List prior to the hearing.




                             [Remainder of this page intentionally left blank]




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 Houston, Texas
 November 3, 2022

                                             /s/ Jason S. Brookner
                                             GRAY REED
                                             Jason S. Brookner (TX Bar No. 24033684)
                                             Amber M. Carson (TX Bar No. 24075610)
                                             1300 Post Oak Boulevard, Suite 2000
                                             Houston, Texas 77056
                                             Telephone: (713) 986-7127
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                                                         acarson@grayreed.com

                                             - and -

                                             OLSHAN FROM WOLOSKY, LLP
                                             Adam H. Friedman (pro hac vice forthcoming)
                                             1325 Avenue of the Americas
                                             New York, NY 10019
                                             Telephone: (212) 451-2216
                                             Facsimile: (713) 451-2222
                                             Email:     afriedman@olshanlaw.com

                                             COUNSEL TO BITNILE INC.


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 3rd day of November 2022, he caused a true
and correct copy of the foregoing document to be served via the Court’s CM/ECF system.

                                                  /s/ Jason S. Brookner
                                                  Jason S. Brookner




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